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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
‘
KTF/BW/DIB                                           271 Cadman Plaza East
F. #2024R00288                                       Brooklyn, New York 11201



                                                     September 11, 2024

By ECF

The Honorable Pamela K. Chen
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

The Honorable LaShann DeArcy Hall
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Long Phi Pham (“Pham”)
                      Criminal Docket Number 24-359 (PKC)
                      and
                      United States v. Jontay Porter (“Porter”)
                      Criminal Docket Number 24-270 (LDH)

Dear Judge Chen and Judge DeArcy Hall:

               Pursuant to Rule 4 of the Rules for the Division of Business for the Eastern
District of New York, the government hereby notifies the Court that the above-captioned cases
(“Pham” and “Porter”) are presumptively related.

                Rule 4(b)(1) provides for “a presumption that one case is ‘related’ to another
when the facts of each arise out of the same charged criminal scheme(s), transaction(s), or
event(s), even if different defendants are involved in each case.” Rule 4(c)(1) directs the United
States Attorney’s Office to “give notice to all relevant Judges whenever it appears that one case
may be presumptively related to another pursuant to Rule 4(b) above.”

              This letter constitutes the notice directed by Rule 4(c)(1). Pham and Porter are
presumptively related because the facts of their cases arise out of the same events. Specifically,
Pham and Porter charge the same wire fraud conspiracy and the sole defendant in Porter is the
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individual identified as “Player 1” in a previously-filed complaint against the defendant in Pham.
See 24-MJ-404.1

               Accordingly, because Pham and Porter arise out of the same events, they are
presumptively related. Given this overlap, the government respectfully submits that
reassignment of Pham would be appropriate, as reassignment would likely result in a significant
savings of judicial resources and serve the interests of justice.


                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney
                                                     Eastern District of New York

                                             By:     /s/
                                                     Kaitlin T. Farrell
                                                     Benjamin Weintraub
                                                     David I. Berman
                                                     Assistant U.S. Attorney
                                                     (718) 254-7000

cc:        Clerk of Court (by ECF and E-Mail)
           Michael Soshnick (by ECF and E-Mail)




       1
         On July 10, 2024, Porter pled guilty before Hon. James R. Cho, to conspiracy to commit
wire fraud, in violation of Title 18, United States Code, Section 1349. He is pending sentencing.


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